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IN THE UNITED sTATEs DISTRICT COURT ago €a
FOR THE WEsTERN DISTRICT OF TENNESSEE A( /»°c, S/
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HOWARD RUssELL sCALEs, § /.’i\ 'Q° ”',9 "?;s
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Plaintiff, § {’/,;2, ,_»’
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VS. § NO. 04-1312-T/An
t
CHARLES TRAUGHBER, ET AL., §
r
Defendants. ll

 

ORDER TO COMPLY WlTI-I PLRA
ORDER ASSESSING $150 CIVIL FILING FEE
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Howard Russell Scales, Tennessee Department of Correction prisoner number
109183, an inmate at the Northwest Correctional Complex (“NWCX”) in Tiptonville, Tennessee,
filed a complaint pursuant to 42 U.S.C. § 1983 on November 26, 2004. The Clerk shall record the
defendants as Charles Traughber, the chairman of the Tennessee Board of Probation and Paroles, in

his individual capacity, Parole Hearing Offlcer Steve Betts, in his individual capacity, and the State

of Tennessee.l
I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 1915(a)-(b), all

prisoners bringing a civil action must pay the full filing fee 0f$150 required by 28 U.S .C. § 1914(a).2

 

l The complaint states that defendants Traughber and Betts are being sued in both their individual and
official capacitiesl ln order to ensure that service is properly made, the Court has clarified the listing of defendants
to make clear that service must be made on both the State of Tennessee and the individual defendants

2 Because this complaint was filed prior to March 7, 2005, the new filing fee of $250 is not applicable

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The statute merely provides the prisoner the opportunity to make a “downpayment” of a partial filing
fee and pay the remainder in installments.

ln this case, plaintiff has properly completed and submitted an in forma pauperis affidavit
containing a certification by the trust fund officer at his prison. Although the plaintiff has not
submitted a trust fund account statement, the information supplied by the plaintiff is sufficient to
permit assessment of the filing fee. Pursuant to 28 U.S.C. § l915(b)(1), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out this order. Plaintiff is ORDERED to
file, within thirty (30) days after the entry of this order, a trust fund account statement for the six
months prior to the commencement of this action. lt is further OR.DER_ED that the trust fund officer
at plaintiffs prison shall calculate a partial initial filing fee equal to twenty percent (20%) of the
greater of the average balance in or deposits to the plaintiff" s trust fund account for the six months
immediately preceding the completion of the affidavitl When the account contains any funds, the
trust fund officer shall collect them and pay them directly to the Clerk of Court. lf the funds in
plaintiffs account are insufficient to pay the full amount of the initial partial filing fee, the prison
official is instructed to Withdraw all of the funds in the plaintiff" s account and forward them to the
Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs account the
prison official shall immediately withdraw those funds and forward them to the Clerk of Court, until
the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust fund
officer shall Withdraw from the plaintiff’s account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to plaintiffs account during the

preceding month, but only when the amount in the account exceeds $10.00, until the entire $lS0.00

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filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this order,
he shall print a copy of the prisoner’s account statement showing all activity in the account since the
last payment under this order and file it with the Clerk along with the payment. All payments and
account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. I-Iighland Ave., Jackson, TN 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.

If plaintiff is transferred to a different prison or released, he is ORDERED to notify the Court
immediately of his change of address If still confined he shall provide the officials at the new prison
with a copy of this order, If the plaintiff fails to abide by these or any other requirement of this order,
the Court may impose appropriate sanctions, including a monetary fine, Without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust fund
accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of this order to the
warden of the NWCX to ensure that the custodian of the plaintiffs inmate trust account complies
with that portion of the PLRA pertaining to the payment of filing fees.

II. lssuance of Service

lt is ORDERED that the Clerk shall issue process for the defendants and deliver said process
to the U.S. Marshal for service. A copy of this order shall be served on the defendants along with
the summons and complaintl Service shall be made on defendant Traughber and Betts, individually,
pursuant to Fed. R. Civ. P. 4(e) and Tenn. R. Civ. P. 4.04(1) & (10), either by mail or personally if

mail service is not effective. Service shall be made on the State of Tennessee pursuant to Fed. R.

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Civ. P. 40)(2) and Tenn. R. Civ. P. 4.04(6) & (10). All costs of service shall be advanced by the
United States.

lt is further ORDERED that the plaintiff shall serve a copy of every further document filed
in this cause on the attorney for each defendant, or on any defendant that has no attorney. The
plaintiff shall make a certificate of service on every document filed. The plaintiff shall familiarize
himself with the Federal Rules of Civil Procedure and this Court’s Local Rules. The plaintiff shall
promptly notify the Clerk of any change of address or whereabouts Failure to comply with these
requirements, or any other order of the Court, may result in this case being dismissed without further
notice.

OJ">
IT IS SO ORDERED this 9 day of April, 2005.

C)z/WZS.SMM

JA S D. TODD
ED STATES DISTRICT JUDGE

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case l:04-CV-01312 was distributed by fax, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

Howard Russell Scales
Northwest Correctional Facility
l 09 l 83

960 State Route 212
Tiptonville7 TN 38079

Honorable .l ames Todd
US DISTRICT COURT

